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                                                         Exhibit A to the Complaint
Location: Hopkinton, MA                                                                                  IP Address: 108.7.209.104
Total Works Infringed: 28                                                                                ISP: Verizon Fios
 Work      Hashes                                                                UTC             Site           Published     Registered   Registration
 1         Info Hash: CDC44D184FAEB024840ACBB9CE51656E10C16C6B                          07-08-   Vixen          07-07-2023    07-13-2023   PA0002420346
           File Hash:                                                                     2023
           4A66BF67CFA5B9BD2A1535A61D5E18771F7541C393C766A5C15C89D74D8E3604           00:49:24
 2         Info Hash: 00FB8D6D072C677E66A178DD715BE39D6DC36AC2                          07-02-   Blacked        07-01-2023    07-13-2023   PA0002420349
           File Hash:                                                                     2023
           D64AB0A01A9D93D6ABDE142ABF87879FAB600ABD99BC2A5057799041B9FD3C89           01:41:06
 3         Info Hash: 93E42FF7F21A38265D5BD5D870FF7DE9746AF795                          06-29-   Blacked        06-28-2023    07-13-2023   PA0002420343
           File Hash:                                                                     2023   Raw
           FFDBFC58A09824962138B84636EF13670FFB98F0822CAA0AA7E6CFE0BF1D52C8           15:49:54
 4         Info Hash: 0356E8A7682C7C2F9F894AEE7A998BFA5D44C548                          06-26-   Tushy          06-25-2023    07-13-2023   PA0002420342
           File Hash:                                                                     2023
           6C7CFEBF8167EF2EA61935641B69651AC00F94F9721870715B0E58D0E2751BE4           01:41:42
 5         Info Hash: 065363B2645B38BEC3FE5B4127B28598C147EC19                          06-12-   Blacked        06-10-2023    07-13-2023   PA0002420362
           File Hash:                                                                     2023
           7806B4A65CB72A8974506F2D8CBB510667DC85E6954A37AB1B1C977290700834           06:02:07
 6         Info Hash: B0C1922AEFDC529B4C748B61E427ACF9BAAF682F                          06-09-   Blacked        06-08-2023    07-13-2023   PA0002420361
           File Hash:                                                                     2023   Raw
           3F06ECF96A508FEA6DD9EA9BDCF46C22160D03FDBE699ABF278314D6CA12F39B           20:45:28
 7         Info Hash: 9CE68E948A911949C4DF8956C0729043AB48901D                          06-04-   Blacked        06-03-2023    06-09-2023   PA0002415371
           File Hash:                                                                     2023   Raw
           87868002D6AA2B3BE5ABB03711A6D058E9BE1C9322FCD442AA301020ECB3C5E2           02:55:28
 8         Info Hash: A5ECD8B35F9167953C33D84BB6099655C0AC83E5                          05-30-   Vixen          05-26-2023    06-09-2023   PA0002415392
           File Hash:                                                                     2023
           2684946A0D5CBE16B1ED2B41C55D70E817D6CD527481E1182FD2D69EB6DFB032           06:37:15
 9         Info Hash: A6EA7322227167BB958372EA0FF00D8E41D18E19                          05-27-   Blacked        05-24-2023    06-09-2023   PA0002415389
           File Hash:                                                                     2023   Raw
           AA26482D229D74AD1E385E34673390A2FEC721A9EF9F38C2EA74C0156CE5BDF1           12:14:54
 10        Info Hash: E8ABFD1C4627B563399146DDE001C4323F5DF648                          05-25-   Blacked        05-20-2023    06-09-2023   PA0002415379
           File Hash:                                                                     2023
           062FF3EE2505D386DA6A182FEED8DA873A09F6EEF8AF99CE3B29295F4BEC41D0           16:03:28
 11        Info Hash: CFA75A24B84A2616FCFFB6C021018A2CBD810625                          05-20-   Vixen          05-12-2023    06-09-2023   PA0002415370
           File Hash:                                                                     2023
           E66FFF6C6FDFF2A69BB993DAB1FDD5F17A77176FC647F8F3D8CCE1D9DC9F0414           15:45:35
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: 893932E9AF5006B530FA71C8A4646E3CDC474CAA                   05-20-   Blacked   05-13-2023   06-09-2023   PA0002415384
       File Hash:                                                              2023
       DC371AAF346BA03418D1621ACF8B5994B51984574BD22B2113CF6D23AFD7D79E    15:26:04
13     Info Hash: 0EA150A8C7AA2F5F4305CF6D2CB95ADCBFFE67BF                   05-12-   Vixen     04-14-2018   06-19-2018   PA0002126645
       File Hash:                                                              2023
       7CD49F931AE3A14C26CED39154392934494228078EC852F297CDA7E269FE81AD    19:46:39
14     Info Hash: 7638FAE5F8439D2CAA94C5748F8BD88D92481F04                   05-12-   Blacked   04-02-2018   04-17-2018   PA0002116078
       File Hash:                                                              2023   Raw
       028A7E7322546A747EF75BDC26214EE116EE42D07182167E221D38A0FAFEFE01    17:42:02
15     Info Hash: 6DBE92440229CD2B8119B915CDD594220FF7A20F                   05-12-   Blacked   12-18-2018   02-02-2019   PA0002155391
       File Hash:                                                              2023   Raw
       120F4C681549580FBB8E8996E410BC32C342851C0F0F6113B1D49124136BD564    17:41:23
16     Info Hash: C83EF20E1013A6AB938ACC23C498F145ACB28795                   05-11-   Blacked   05-06-2023   05-15-2023   PA0002411299
       File Hash:                                                              2023
       C5C14A43507207DB518B53BF7C10C7D83250E02533C5197754542C27E5E4C634    05:37:18
17     Info Hash: AE6FF119CF720A3271FB0DD93F405C53C6E55A0F                   04-28-   Blacked   03-15-2023   04-07-2023   PA0002405750
       File Hash:                                                              2023   Raw
       EFB492DBEBF845031AF3A3EC7664516979EC39A02CE64CBA3D0F76627C43E72A    16:11:27
18     Info Hash: D8055232131B06F6CAD0F7F397AD503726D9AB25                   04-06-   Blacked   04-11-2022   04-23-2022   PA0002346408
       File Hash:                                                              2023   Raw
       259BA2AC357EB495BD53CB93EB29BD820E4A75D4B655ECE57ABBF5DF17250B9C    02:53:23
19     Info Hash: CF68460DE9D9906097987EC8282AFEB65C3285B7                   04-06-   Blacked   09-05-2020   09-29-2020   PA0002258686
       File Hash:                                                              2023
       89D2A8B1E0C33574D55170A12C1AC1BEAAA8DAD27057E862E44E6FD7099822CB    02:53:01
20     Info Hash: FED9CBC943CC50537BBD8267BD4FA4C4848363B1                   04-05-   Blacked   04-25-2020   05-05-2020   PA0002249013
       File Hash:                                                              2023
       ED1BA66718984D5855EF40B4782EFA7B40EB613381E9A271500EABD09DE1E77E    01:25:57
21     Info Hash: 91ABE265B87828D4AB8248B6604817DE7D61CFAA                   03-20-   Vixen     03-17-2023   04-10-2023   PA0002405944
       File Hash:                                                              2023
       E31DA38E6F32436BFA1F9BA3470DF0B8C31CE9DA830EB70ED382024A4BC1A5ED    17:17:48
22     Info Hash: A117040D9525C1C72653A916746A386DB3D37130                   03-08-   Blacked   03-04-2023   04-07-2023   PA0002405754
       File Hash:                                                              2023
       E89AE637B3419055D9A517872D3068B1B628C4901856FC1E5A198F82A37D657C    14:55:28
23     Info Hash: 7A9A2E1E2DCBB3A64583B95F042C029A715D4743                   03-01-   Vixen     02-24-2023   03-07-2023   PA0002400307
       File Hash:                                                              2023
       FA1CA01F93BBC637BFED6161ED631234D467FDB502BF67C0BE5F618E1FCE3818    07:51:45
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Work   Hashes                                                             UTC         Site      Published    Registered   Registration
24     Info Hash: 1698C3F45784BDFB3DE7A8D9CA5526EAC970E326                   02-06-   Vixen     12-15-2018   01-22-2019   PA0002147905
       File Hash:                                                              2023
       3E0D65AFF79CB4E59E50526E0558E76A733A4DA603DB14CBD5D826A8E867A126    16:57:53
25     Info Hash: BABEA42AB263D45CAC6CDE28D9FEECEF129EE410                   01-30-   Vixen     01-27-2023   04-13-2023   PA0002406898
       File Hash:                                                              2023
       349658B254B9C0F9BDF2486AD50DA8A7D3C40463A9959E5D25F0E0B02A6E22CE    15:45:05
26     Info Hash: 40D0A0F8DE498BA30734E52BB4A8E3B909CA8748                   01-28-   Blacked   01-24-2023   01-27-2023   PA0002393074
       File Hash:                                                              2023   Raw
       C8278FE811B629B54A3046CAA645164E4059FDBA3820EF6D38BFF72C9C8A6C65    02:44:23
27     Info Hash: 2362121C828A6C1A2C07C982C8E6131D380878C6                   01-28-   Blacked   01-21-2023   01-27-2023   PA0002393070
       File Hash:                                                              2023
       462F1D4473F39DE9A698228C8C0F9263E7173DF9782E435BD0B7A8C78A03E9A7    02:39:15
28     Info Hash: 5ABD6B7E032F33F63D7C609EDDC5EDD143B1BF8F                   01-22-   Blacked   01-19-2023   01-27-2023   PA0002393081
       File Hash:                                                              2023   Raw
       57B43783291B5A46BF9AA4C12D1FEFCE2B45E514E018BCFAF808601DF58C9F81    02:45:39
